                    UNITED STATES BANKRUPTCY COURT
                      EASTERN DISTRICT OF MICHIGAN
                            SOUTHERN DIVISION

In re:                                            Chapter 11

Gissing North America LLC,                        Case No. Case No. 22-46160
a Delaware limited liability
company, et al.,                                  Hon. Lisa S. Gretchko

                             Debtors.1            (Jointly Administered)


        ORDER (I) ESTABLISHING BIDDING PROCEDURES,
    (II) SCHEDULING AN AUCTION AND A SALE HEARING IN
   CONNECTION WITH THE SALE OF SUBSTANTIALLY ALL OF
  DEBTORS’ ASSETS, (III) SETTING DEADLINES IN CONNECTION
THEREWITH, (IV) APPROVING THE FORM OF THE ASSET PURCHASE
   AGREEMENT, INCLUDING THE STALKING HORSE BIDDER’S
          PREMIUM, AND (V) GRANTING RELATED RELIEF

         This matter came before the Court on the Debtors’ Motion For Entry

Of (A) An Order (I) Establishing Bidding Procedures, (II) Scheduling An

Auction And A Sale Hearing In Connection With The Sale Of Substantially

All Of Debtors’ Assets, (III) Setting Deadlines In Connection Therewith, (IV)

Approving The Form Of The Asset Purchase Agreement, Including The


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 Debtors’ cases are being jointly administered for procedural purposes only
and consist of Debtors Gissing North America LLC, Case No. 22-46160,
Gissing Auburn LLC, Case No. 22-46169, Gissing Fremont LLC, Case No.
22-46170, Gissing Greenville LLC, Case No. 22-46171, Gissing Sidney
LLC, Case No. 22-46172, Gissing Sumter LLC, Case No. 22-46173,
Gissing Technologies LLC, Case No. 22-46174, and Gissing Technologies
Mexico LLC, Case No. 22-46175.


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Stalking Horse Bidder’s Premium, And (V) Granting Related Relief; And (B)

An Order (I) Authorizing The Sale Of Substantially All Of Debtors’ Assets

Free And Clear Of Liens, Claims, Encumbrances, And Interests, (II)

Approving The Assumption And Assignment Of Certain Executory

Contracts And Unexpired Leases, And (III) Granting Related Relief (“Sale

Motion”; ECF No. 114)2 solely to the extent that the Sale Motion requests

approval of bidding procedures. Pursuant to the Court’s August 24, 2022

Order granting the Debtors’ ex parte motion for shortened notice and

expedited hearing on the Debtors’ requested bidding procedures (“August

24, 2022 Order”; ECF No. 136), limited objections to the Debtors’

requested bidding procedures were filed by Stellantis (FCA US LLC)

(“Stellantis Objection”; ECF No. 167), Gissing Automotive Systems, LLC

(“GAS Objection”; ECF No. 169) and Mitsuiya Industries, Co., Ltd.

(“Mitsuiya Objection”; ECF No. 170). On September 1, 2022, the Court held

a hearing (“Hearing”) on the Sale Motion solely as it relates to Debtors’

request for approval of bidding procedures. The Stellantis Objection, the

GAS Objection, and the Mitsuiya Objection have all been resolved and

counsel for each such objecting party has signed a stipulation

(“Stipulation”; ECF No. 200) consenting to the terms of this Order. Counsel

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  Capitalized terms used but not defined have the meanings given to them
in the Sale Motion.

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for the Debtors and counsel for the Unsecured Creditors’ Committee also

signed the Stipulation. This Court has reviewed the Sale Motion, the

documents filed at ECF Nos. 199 and 205 and other pertinent pleadings,

and has considered the statements made at the Hearing. The Court is

advised in the premises.

        NOW, THEREFORE, IT IS HEREBY ORDERED that:

        1.        The Sale Motion is GRANTED as set forth in this Order solely

to the extent that it requests approval of bidding procedures.

        2.        The following changes to the Bidding Procedures as set forth in

the Sale Motion are made and approved, and shall be incorporated in the

Bidding Procedures: The Bid Deadline shall be October 14, 2022; the

Auction Date shall be October 18, 2022; the Sale Hearing shall be October

24, 2022; and the deadline for entry of the Sale Order shall be October 26,

2022; and for purposes of clarity, the Closing Date is not changed, and

remains October 31, 2022.

        3.        All objections to the entry of this Bidding Procedures Order not

settled, withdrawn, or otherwise resolved are overruled.

        4.        Notwithstanding anything to the contrary in any prior order or in

the Sale Motion, the Debtor may select one or more Stalking Horse Bidders.

A Stalking Horse Bidder’s submission must include a Deposit, a designation



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of the executory contracts and unexpired leases that the Stalking Horse

Bidder desires to be assumed and assigned by Debtors to the Stalking

Horse Bidder, and a redline of the Stalking Horse Bid comparing against

the original Form APA. If a Stalking Horse Bidder or Bidders is or are

selected by Debtors by the Stalking Horse Selection Date, Debtors may

provide the Stalking Horse Bidder(s) with a break-up fee in the aggregate

amount in connection with all Stalking Horse Bids of up to 3% of the cash

purchase prices set forth in the Stalking Horse Bids, excluding any

applicable Cure Costs (“Stalking Horse Bidder’s Premium”). Any Stalking

Horse Bidder that submits a credit bid shall not be entitled to a Stalking

Horse Bidder’s Premium.

        5.        Once a Stalking Horse Bidder or Bidders is or are selected, the

Debtors shall file with the Court clean and redlined copies of the respective

asset purchase agreement(s) comparing them to the Form APA.

        6.        The Stalking Horse Bidder’s Premium is approved based upon

an exercise of the Debtors’ business judgment and the substantial value that

a Stalking Horse Bid will create for the bankruptcy estates.

        7.        The conduct of the auction will be transcribed, creditors may

request a copy of the transcript following conclusion of the auction from

Debtors’ counsel, and Debtors’ counsel will take reasonable steps to provide



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creditors requesting a copy of the transcript with the transcript immediately

following conclusion of the auction.

        8.        Objections to the remaining relief requested in the Sale Motion

and the entry of the proposed Sale Order must: (a) be in writing; (b) conform

to any applicable requirements of the United States Bankruptcy Code, the

Federal Rules of Bankruptcy Procedure, and any applicable local rules of

procedure of this Court; (c) set forth the name of the objecting party and the

nature of any claims or interests held by such party against or in Debtors’

estates or properties; (d) state with particularity the legal and factual bases for

the objection and the specific grounds therefore; (e) be filed with the Clerk of

the Court and served on Debtors’ counsel so as to be received on or before

OCTOBER 20, 2022 at 5:00 P.M. EASTERN TIME (“Sale Objection

Deadline”) and (f) all parties have reserved their respective rights in

connection with the approval of any proposed Winning Bid or Backup Bid,

including, but not limited to, in connection with the inclusion or exclusion of

any assets to be acquired in the proposed transactions.

        9.        Any reply brief shall be filed by no later than OCTOBER 21,

2022 at 5:00 P.M. EASTERN TIME.




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        10.       Any person or entity that fails to make an objection by the Sale

Objection Deadline is forever barred from asserting any objection to the

entry of the Sale Order.

        11.       A hearing (“Sale Hearing”) to consider the remaining relief

requested in the Sale Motion and the entry of the proposed Sale Order will

be held on OCTOBER 24, 2022 at 9:30 A.M. EASTERN TIME in the

Courtroom of the Honorable Lisa S. Gretchko, United States Bankruptcy

Court for the Eastern District of Michigan, 211 W. Fort Street, Courtroom

1975, Detroit, MI 48226.

        12.       In connection with the marketing and Sale of Debtors’ Assets,

Debtors are authorized to utilize the Form APA attached as Exhibit 6a to

the Sale Motion, as modified and revised to be consistent herewith and

filed with the Court at Docket No. 199-5.

        13.       The Bidding Procedures attached as Exhibit 6b to the Sale

Motion, as modified and revised to be consistent herewith and filed with the

Court at Docket No. 205, are incorporated herein by reference and

approved and will apply to the sale of the Assets.

        14.       The Notice of Auction and Sale attached as Exhibit 6d to the

Sale Motion, as modified and revised to be consistent herewith and filed




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with the Court at Docket No. 199-9, is incorporated herein by reference and

approved.

        15.        The Assumption and Assignment Notice attached as Exhibit 6c

to the Sale Motion, as modified and revised to be consistent herewith and

filed with the Court at Docket No. 199-7, is incorporated herein by

reference and approved.

        16.        The following Assumption and Assignment Procedures are

approved and will apply to the assumption and assignment by Debtors of

executory contracts and unexpired leases (“Assumed and Assigned

Agreements”):

                   i.     By no later than one week following the date of entry of
                          this Bidding Procedures Order, Debtors will file a
                          schedule (“Cure Schedule”), which will be in alphabetical
                          order and will be attached to the Assumption and
                          Assignment Notice, identifying (a) the Assumed and
                          Assigned Agreements potentially to be assumed and
                          assigned to a Winning Bidder in the event of a Sale and
                          (b) the amount, if any, Debtors believe is necessary to
                          cure all monetary defaults and other defaults under such
                          agreements pursuant to § 365 of the Bankruptcy Code
                          (“Cure Costs”).

                  ii.     Upon the filing of the Cure Schedule, Debtors will serve
                          the Cure Schedule and the Assumption and Assignment
                          Notice on each of the non-debtor counterparties listed on
                          the Cure Schedule by first class mail.

                  iii.    Following the Auction, the Winning Bidder(s) and the Back-
                          Up Bidder(s) must file on the Court’s docket evidence
                          demonstrating the ability of the Winning Bidder and the

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                         Back-Up Bidder to provide adequate assurance of future
                         performance under any Assumed and Assigned Agreement
                         by no later than OCTOBER 19, 2022 at 5:00 P.M.
                         EASTERN TIME.

                  iv.    The Assumption and Assignment Notice will state that
                         Debtors are seeking, or may seek, the assumption and
                         assignment of the Assumed and Assigned Agreements
                         and include (a) a description of each executory contract
                         and unexpired lease that may be assumed and assigned in
                         connection with the Sale, (b) the deadline for objecting
                         (“Cure/Assignment Objection”) to the amount of the
                         proposed Cure Costs related to any executory contract or
                         unexpired lease, which will be OCTOBER 20, 2022 at 5:00
                         P.M. EASTERN TIME (“Cure/Assignment Objection
                         Deadline”) and (iii) the deadline for objecting (“Adequate
                         Assurance Objection”) to the ability of the Winning
                         Bidder(s) and the Back-Up Bidder(s) to provide adequate
                         assurance of future performance under any Assumed and
                         Assigned Agreement, which will be OCTOBER 21, 2022 at
                         12:00 P.M. EASTERN TIME (“Adequate Assurance
                         Objection Deadline” and collectively with the
                         Cure/Assignment Objection Deadline, the “Cure/Adequate
                         Assurance Objection Deadlines”).

                  v.     Each Cure/Assignment Objection and/or Adequate
                         Assurance Objection must be filed with the Bankruptcy
                         Court and served on Debtors’ counsel so that it is received
                         by the applicable Cure/Adequate Assurance Objection
                         Deadline.

                  vi.    If no objections are received with respect to any Assumed
                         and Assigned Agreement, then the Cure Costs in the Cure
                         Schedule for such agreement will be binding upon the non-
                         debtor counterparty to the agreement for all purposes and
                         will constitute a final determination of the Cure Costs
                         required to be paid by or on behalf of the applicable Debtor
                         in connection with the assumption and assignment of such
                         agreement.



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                  vii.    In addition, all counterparties to the Assumed and Assigned
                          Agreements who fail to file an objection before the
                          Cure/Adequate Assurance Objection Deadlines, as
                          applicable, will be (a) forever barred from objecting to the
                          Cure Costs or adequate assurance of future performance
                          with respect to the Assumed and Assigned Agreements,
                          and Debtors and the Winning Bidder(s) will be entitled to
                          rely solely upon the Cure Costs on the Cure Schedule, (b)
                          deemed to have consented to the assumption and
                          assignment, and (c) forever barred and estopped from
                          asserting or claiming against the applicable Debtor(s) or
                          the Winning Bidder(s) that any additional amounts are due
                          or other defaults exist, that conditions to assignment must
                          be satisfied, or that there is any other objection or
                          defense to the assumption or assignment of the
                          applicable Assumed and Assigned Agreement.

              viii.       Debtors or the Winning Bidder(s) may amend the Cure
                          Schedule to remove any Assumed and Assigned
                          Agreement at any time before such Assumed and Assigned
                          Agreement is actually assumed and assigned pursuant to
                          an order of the Court. The non-debtor party or parties to
                          any such removed contract or lease will be notified of such
                          exclusion by written notice mailed within one business day
                          after such amendment.

        17.        Any timely filed and unresolved Cure/Assignment Objection

and/or Adequate Assurance Objection will be heard at the Sale Hearing;

provided, however, that Debtors reserve the right to request that any timely

filed and unresolved Cure/Assignment Objection and/or Adequate

Assurance Objection be heard after the Sale Hearing and after entry of the

Sale Order.




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        18.       The presence of an Assumed and Assigned Agreement on the

Cure Schedule does not constitute an admission that such Assumed and

Assigned Agreement is an executory contract or unexpired lease or that the

Assumed and Assigned Agreement will be assumed, assigned, or both.

        19.       To the extent this Bidding Procedures Order or the Bidding

Procedures contradict or cannot be harmonized with the APA, this Bidding

Procedures Order and the Bidding Procedures will control.

        20.       A Qualified Bidder may bid on some of the Assets without

having to bid on all of the Assets.

        21.       Except as explicitly set forth herein, nothing in this Bidding

Procedures Order or otherwise will affect any right that may exist in favor of

any other entity holding a valid and enforceable Lien from exercising any

right afforded to such holder pursuant to § 363(k) of the Bankruptcy Code.

        22.       Limited Objection of GAS. All the objections raised by Gissing

Automotive Systems, LLC in its Limited Objection and Reservation of

Rights to the Sale Motion [Docket No. 169] with respect to the assumption

and assignment of that certain Patent License Agreement between Debtor,

Gissing North America, LLC and Gissing Automotive Systems, LLC are

expressly preserved.




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        23.       Limited Objection of Stellantis. In resolution of the Limited

Objection filed by Stellantis [Docket No. 167]: (i) counsel for Stellantis may

attend the Auction; (ii) Debtors will not sell any assets owned by Stellantis,

such as Stellantis-owned tooling, returnable dunnage, or other bailed

property; and (iii) Stellantis reserves the right to object to any assumption

and assignment of its purchase orders by Debtors to a third-party and

otherwise reserves all rights to object with respect to entry of the sale

order, including without limitation the right to object to any bidder or buyer

being deemed qualified (as a Qualified Buyer, Qualified or Winning Bidder

or otherwise) notwithstanding anything in this Order or the Accommodation

Agreement to the contrary.

        24.       Limited Objection of Mitsuiya. Notwithstanding anything to the

contrary in the Bidding Procedures Order, Bidding Procedures, or Form

APA, nothing in this Bidding Procedures Order authorizes the Debtors or

their professionals to market for sale, provide for due diligence, sell,

transfer, or otherwise disclose to any third party in connection with the

proposed Sale Motion any trade secrets, know-how or other intellectual

property, including, without limitation, material composition, material

formulae, molding conditions, design, and/or manufacturing processes for

manufacturing and assembling fender liners, wheel liners, surface carpets,



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and spare tire covers that is owned solely by Mitsuiya Industries, Co., Ltd.

(collectively, “Mitsuiya Property”). Mitsuiya has filed an adversary

proceeding pending before this Court entitled Mitsuiya Industries, Co., Ltd.

v. Gissing North America LLC, et al., Adv. Case No. 22-04186-LSG (the

“Mitsuiya Adversary Proceeding”) regarding the Mitsuiya Property.

Mitsuiya also previously filed an action entitled Mitsuiya Industries Co., Ltd.

v. Formed Fiber Technologies, Inc., et al., Case No. 2:20-CV-10941-TGB in

the United States District Court for the Eastern District of Michigan (the

“District Court Proceeding”), alleging infringement claims, among other

claims, relating to the Mitsuiya Property and all derivatives of such

property. The District Court Proceeding is still pending, but is currently

stayed due to the Debtors’ bankruptcy. A copy of the Mitsuiya Adversary

Proceeding complaint and the District Court Proceeding complaint shall be

placed in the Debtors’ data room. Debtors vigorously dispute the

allegations of the Mitsuiya Adversary Proceeding and the District Court

Proceeding. For the avoidance of any doubt and confusion, the Debtors or

their professionals shall refrain from including or otherwise providing any

Mitsuiya Property to potential bidders, regardless of the execution of an

NDA (as defined in the Bidding Procedures).




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        25.       Section 503(b)(9) Claims. The DIP Lenders and Prepetition

Lenders agree that, in the event that the aggregate sale price for the

Debtors’ assets is at least $24 million, then 50% of the net sale cash

proceeds (after payment of all costs of sale) above $24 million, up to a cap

of $2 million (the “Cap”), shall be segregated at closing from the net sale

cash proceeds of such sale to pay allowed claims under 11 U.S.C. §

503(b)(9) (the “503(b)(9) Escrow”). The Cap shall be reduced dollar-for-

dollar for any 503(b)(9) claim that is cured by any purchaser(s) of the

Debtors’ assets or otherwise paid. The 503(b)(9) Escrow shall remain

segregated until the earliest of (a) the effective date of a confirmed chapter

11 plan for the Debtors, (b) 60 days after conversion of the Debtors’ cases

to chapter 7, and (c) the entry of an Order by the Court requiring the

Debtors to pay 503(b)(9) claims (each, a “503(b)(9) Test Date”). If, as of

the applicable 503(b)(9) Test Date, there are insufficient cash assets to pay

503(b)(9) claims in full, then the amounts in the 503(b)(9) Escrow shall be

used to pay such claims. If there are sufficient cash assets as of the

503(b)(9) Test Date to pay all or a portion of allowed 503(b)(9) claims as of

that date, then the remainder of the amounts in the 503(b)(9) Escrow (after

payment of all allowed 503(b)(9) claims) shall be distributed to the DIP

Lenders or Prepetition Lenders, as the case may be, under the terms of the



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DIP Loan Documents. This paragraph shall be without prejudice to (a) any

objections that any party-in-interest, including the Committee, may have to

such a sale, and (b) any right to object to claims asserted under 11 U.S.C.

§ 503(b)(9), and all defenses to such objections.

        26.       The Court retains jurisdiction to hear and determine all matters

arising from or relating to the implementation and/or interpretation of this

Bidding Procedures Order.


Signed on September 7, 2022




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